

ORDER

PER CURIAM:
AND NOW, this 1st day of November, 1994, there having been filed with this Court *525by Marie E.H. Inyang her verified Statement of Resignation dated October 10, 1994, stating that she desires to resign from the Bar of the Commonwealth of Pennsylvania in accordance with the provisions of Rule 215, Pa. R.D.E., it is
ORDERED that the resignation of Marie E.H. Inyang be and it is hereby accepted and she is DISBARRED ON CONSENT from the Bar of the Commonwealth of Pennsylvania; and it is further ORDERED that she shall comply with the provisions of Rule 217, Pa.R.D.E. Respondent shall pay costs, if any, to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
MONTEMURO, J., is sitting by designation.
